Case 4:25-cv-00246-JDK-JDL           Document 24        Filed 04/30/25       Page 1 of 1 PageID #:
                                            852


                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS

 Bee Cups LLC,                                           )
                                                         )
                                             Plaintiff,  )      Case No.: 4:25-cv-00246-JDK-JDL
 v.                                                      )
                                                         )     Defendant Light in the Box Limited
 DOES 1-297,                                             )       Fed. R. Civ. P. 7.1 Disclosures
                                                         )
                                             Defendants. )

NOW COMES Light in the Box Limited, by and through its undersigned counsel, and provides the

following disclosures under Fed. R. Civ. P. 7.1 and the Court’s standing order:

1. LightintheBox Holding Co., Ltd.

Dated this April 30, 2025

                                                              Respectfully Submitted,

                                                              /s/Adam E. Urbanczyk
                                                              Adam E. Urbanczyk
                                                              AU LLC
                                                              444 W. Lake St. 17th Floor
                                                              Chicago, IL 60606
                                                              (312) 715-7312
                                                              adamu@au-llc.com
                                                              Counsel for Defendant
